      Case 1:19-cv-07346-AJN-KNF Document 60 Filed 04/21/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 HELEEN MEES,                                                DECLARATION IN
                                                             SUPPORT OF JOINT
                                    Plaintiff,               MOTION TO DISMISS

                     -against-                               19 Civ. 7346 (AJN)(KNF)

 CITY OF NEW YORK, MANHATTAN
 DISTRICT ATTORNEY’S OFFICE, CYRUS
 VANCE, JR., NITIN SAVUR, JEANINE
 LAUNAY, SAMANTHA SCHOTT,

                                 Defendants.


       ELIZABETH N. KRASNOW, an attorney duly admitted to practice in the State of

New York, declares under penalty of perjury and pursuant to 28 U.S.C. §1746, that the

following is true and correct:

       1.      I am an Assistant District Attorney in the New York County District Attorney’s

Office. I represent the Office; the District Attorney Cyrus R. Vance, Jr.; and Assistant District

Attorneys Nitin Savur, Jeanine Launay, and Samantha Schott in the above-captioned civil

lawsuit brought by plaintiff pro se Heleen Mees.

       2.      I respectfully submit the exhibits below in support of the joint motion to

dismiss the amended complaint filed by the DA defendants and co-defendant City of New

York, which is represented by the Office of the Corporation Counsel:

       Ex. 1    Criminal Court complaint, filed in New York County Criminal Court in the
                case of People v. Mees on July 2, 2013

       Ex. 2    Superseding information, filed in New York County Criminal Court in the
                case of People v. Mees on August 7, 2013



                                                 1
     Case 1:19-cv-07346-AJN-KNF Document 60 Filed 04/21/20 Page 2 of 2




         Ex. 3   Omnibus motion for discovery and to dismiss in the interests of justice, filed
                 in New York County Criminal Court in the case of People v. Mees on October
                 10, 2013

         Ex. 4   Transcript of the proceedings in New York County Criminal Court in the
                 case of People v. Mees before Judge Steven Statsinger on March 10, 2014

         Ex. 5   Letter from Mees’ defense attorney to District Attorney Vance, dated May
                 9, 2016 (without enclosure)


Dated:           April 21, 2020
                 Stamford, Connecticut

                                                            Elizabeth N. Krasnow /s
                                                            Elizabeth N. Krasnow
                                                            Assistant District Attorney




                                                2
